                                         Case 4:17-cv-06621-YGR Document 134 Filed 07/19/19 Page 1 of 10




                                   1

                                   2

                                   3

                                   4                                    UNITED STATES DISTRICT COURT

                                   5                                   NORTHERN DISTRICT OF CALIFORNIA

                                   6     LUNELL GAMBLE, ET AL.,                              CASE NO. 17-cv-06621-YGR
                                   7                     Plaintiffs,                         ORDER DENYING PLAINTIFFS’ RULE 16
                                                                                             MOTION FOR AN ORDER ADDRESSING
                                   8               vs.                                       SETTLEMENT POSTURE AND POTENTIAL
                                                                                             CONFLICT OF INTERESTS; STAYING
                                   9     KAISER FOUNDATION HEALTH PLAN, INC.,                ACTION; DIRECTING PLAINTIFFS’
                                         ET AL.,                                             COUNSEL TO FILE STATUS STATEMENT
                                  10
                                                         Defendants.                         Dkt No. 110
                                  11

                                  12           Plaintiffs Lunell Gamble and Sheila Kennedy are the named plaintiffs in this putative class
Northern District of California
 United States District Court




                                  13   action alleging claims arising under Title VII, 42 U.S.C. §2000e et seq., and the California Fair
                                  14   Employment and Housing Act (“FEHA”), Govt. Code §12900 et seq. Plaintiffs bring this unusual
                                  15   motion pursuant to Rule 16 of the Federal Rules of Civil Procedure and the Court’s inherent
                                  16   powers to control the conduct of attorneys who appear in proceedings before it. Plaintiffs seek an
                                  17   order dictating in advance the parameters of any settlement negotiations with defendants.1
                                  18   Perhaps more importantly, the motion requests that the Court give its imprimatur to plaintiffs’
                                  19   counsel’s fee agreement and confirm that it poses no conflict of interest with the named plaintiffs
                                  20   or the class.
                                  21           As further detailed herein, plaintiffs’ counsel has included in his fee agreement an express
                                  22   assignment of rights to negotiate statutory fees separate from plaintiffs’ damages, as well as
                                  23   retention of the right to agree to the settlement of statutory fees separate from his clients.
                                  24   Plaintiffs’ counsel represents to the Court that, because defendants insist on a waiver of statutory
                                  25

                                  26           1
                                                Among other things, plaintiffs request the Court order that: (1) during any settlement
                                  27   discussions with defendants, the parties negotiate plaintiffs’ damages separate from statutory
                                       attorney fees; and (2) if the parties’ reach an agreement on plaintiffs’ damages but are unable to
                                  28   reach an agreement on reasonable statutory attorneys’ fees, the attorneys’ fee issue will be
                                       submitted to the Court for resolution.
                                            Case 4:17-cv-06621-YGR Document 134 Filed 07/19/19 Page 2 of 10




                                   1   attorneys’ fees as part of any settlement, his clients would be obligated to pay him twice his

                                   2   lodestar directly in the event of settlement per the terms of his retainer agreement. Plaintiffs’

                                   3   counsel seeks the Court’s determination whether the agreement creates a conflict of interest.

                                   4   Indeed, during the April 22, 2019 case management conference, counsel indicated that he would

                                   5   not want to continue with the case if the Court determined that the agreement would put him in

                                   6   conflict with his clients. (TR at 21:2-13.)

                                   7            Having carefully considered the papers in support of and in opposition to the motion and

                                   8   the admissible evidence2, and good cause appearing, the Court ORDERS as follows:

                                   9            The motion for an order requiring attorneys’ fees to be separately negotiated or determined

                                  10   by the Court in connection with a settlement is DENIED. No court has the authority to dictate the

                                  11   terms of settlement, even of a class action. Evans v. Jeff D., 475 U.S. 717, 726 (1986) (“Rule

                                  12   23(e) wisely requires court approval of the terms of any settlement of a class action, but the power
Northern District of California
 United States District Court




                                  13   to approve or reject a settlement negotiated by the parties before trial does not authorize the court

                                  14   to require the parties to accept a settlement to which they have not agreed.”); see also Hanlon v.

                                  15   Chrysler Corp., 150 F.3d 1011, 1026 (9th Cir. 1998) (“Neither the district court nor [courts of

                                  16   appeals] have the ability to delete, modify or substitute certain [settlement] provisions.”),

                                  17   overruled on other grounds by Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338 (2011). Plaintiffs

                                  18   offer no authority to support the relief they seek in this regard.

                                  19            The Court further ORDERS that this action is STAYED and that plaintiffs shall file a

                                  20   statement regarding how they will proceed in light of the Court’s determination that putative class

                                  21   counsel would not be adequate due to the inherent conflict of interest created by plaintiff’s

                                  22   counsel’s retainer agreement. The reasons follow.

                                  23   I.       TERMS OF THE AGREEMENTS

                                  24            According to plaintiffs’ counsel, the retainer agreements between him and the plaintiffs

                                  25   state:

                                  26

                                  27            2
                                                Defendants’ objections to the declaration of Jeremy Friedman (Dkt. No. 111) are ruled on
                                  28   as follows: Objections 1-5 are OVERRULED. Counsel, as a party to the agreement, can state the
                                       contents of the document. Objection 6 is SUSTAINED as speculative.
                                                                                        2
                                         Case 4:17-cv-06621-YGR Document 134 Filed 07/19/19 Page 3 of 10



                                              All attorneys’ fees recovered pursuant to any statutory or common law fee-
                                   1          shifting provisions, Federal and California, for work done in connection with this
                                              litigation are property of the attorneys, as provided by California law (Flannery v
                                   2          Prentice) and shall not be regarded as property of the client.
                                   3   (Declaration of Jeremy Friedman, Dkt. No. 111, ¶ 5.) At the same time, the agreements purport to

                                   4   provide for attorneys’ fees to be paid either on a contingent basis or by statutory fee award:

                                   5          Client has been given the choice of paying monthly for attorneys’ fees on an hourly
                                              rate basis and for costs, as an alternative to a contingent fee. Client understands
                                   6          that if she chooses to pay fees on an hourly rate basis, rather than a contingent fee
                                              basis, she must pay all fees and costs even if the claims are lost. Clients knowingly
                                   7          and voluntarily agrees to pay fees on a contingent fee basis, or have statutory fees
                                              paid at a rate that is a multiple of Attorneys’ then-current non[-]contingency
                                   8          hourly rate (Ketchum v. Moses), because fees are not paid before any amount is
                                              recovered and Client will not owe any attorneys’ fees if she does not prevail against
                                   9          defendants.
                                  10   (Id. at ¶ 7, emphasis supplied.) However, pursuant to Section 6 of the retainer agreements, quoted

                                  11   below, the provision to pay fees on a contingent or statutory fee award basis does not apply if the

                                  12   client waives attorneys’ fees as part of a settlement. Rather, the client must pay Mr. Friedman
Northern District of California
 United States District Court




                                  13   twice his lodestar:

                                  14          It is agreed that no settlement of these claims may be made without Client’s prior
                                              agreement. If, in settlement of this litigation, Client waives the right to recover
                                  15          attorneys’ fees, costs or expenses (including partial waivers or compromises)
                                              without the consent of Attorneys, Client agrees to pay Attorneys: for waiver of
                                  16          fees, Attorneys’ lodestar amount (their then-current hourly rate, as stated in
                                              section 5, as of the date of recovery times the number of hours expended on the
                                  17          case) times a contingent-risk multiplier of 2.0; and for waiver of costs, all of the
                                              costs advanced by attorneys in this case, whether or not a positive recovery is
                                  18          made by Client. Client understands that this agreement may give rise to potential
                                              disputes and conflicts between Attorneys and Client at the time of settlement, and
                                  19          in particular, where the defendants offer a settlement conditioned on the waiver,
                                              partial waiver or compromise of fees or costs and Attorneys are unwilling to agree
                                  20          to the waiver, partial waiver or compromise. Client understands that this
                                              agreement to pay the difference between Attorneys’ statutory fees and costs and
                                  21          the amount of fees and costs paid in settlement may limit, or even nullify Client’s
                                              recovery, and dissuade her from agreeing to a settlement with the defendants.
                                  22          Client has been advised of the option of seeking additional legal counsel on the
                                              topic. Client expressly agrees to this provision because she knows that otherwise
                                  23          Attorneys would be unwilling to enter into this agreement.
                                  24   (Id. ¶ 8, emphasis supplied.) With respect to how any award of attorneys’ fees will be credited,

                                  25   and the potential conflict of interest that might raise, the agreements further state:

                                  26          The Court may order, or the parties to the litigation may agree, that the
                                              defendants will pay some or all of attorneys’ fees, costs, or both. Any such
                                  27          order or agreement will not affect Client’s obligations under this agreement
                                              except as stated in this Section regarding calculation of the amount of attorneys’
                                  28          fees owed under this agreement and as stated in Section 6. Client agrees that any
                                                                                          3
                                         Case 4:17-cv-06621-YGR Document 134 Filed 07/19/19 Page 4 of 10




                                   1          attorneys’ fees that may be recovered from defendants in this case shall belong
                                              to Attorneys, to whom Client assigns her rights. Client understands that, under
                                   2          California law, the assignment of these rights may raise a potential conflict of
                                              interest between Client and Attorneys in the context of settlement agreements.
                                   3
                                              This includes Attorneys right to claim, negotiate and settle any claim to statutory
                                   4          fees simultaneously with the representation of Client in the prosecution of her
                                              claims. Client has been advised of this potential conflict, of her option of
                                   5          seeking additional legal counsel in connection with this conflict, and Client
                                              expressly agrees to this assignment.
                                   6

                                   7   (Id. ¶ 6, emphasis supplied.)

                                   8   II.    APPLICABLE LEGAL PRINCIPLES

                                   9          A.      Adequacy of Class Counsel

                                  10          Under Rule 23, the Court has an obligation to ensure that putative class counsel is

                                  11   adequate, meaning that they do not have any conflicts of interest with class members and will

                                  12   prosecute the action vigorously on behalf of the class. Evon v. Law Offices of Sidney Mickell, 688
Northern District of California
 United States District Court




                                  13   F.3d 1015, 1031 (2012) (quoting Hanlon v. Chrysler Corp., 150 F.3d 1011, 1020 (9th Cir. 1998).

                                  14   Rule 23(g) offers guidance on assessing proposed class counsel. Rule 23 (g) provides . . . “[i]n

                                  15   appointing class counsel, the court must consider certain factors, including counsel’s work in

                                  16   investigating the claims, experience in handling similar claims and class action, knowledge of the

                                  17   applicable law, and resources counsel will commit to representing the class.” Fed. R. Civ. P.

                                  18   23(g)(1)(A). In addition, the Court “may” consider “any other matter pertinent to counsel’s ability

                                  19   to fairly and adequately represent the interests of the class” and “may order potential class counsel

                                  20   to provide information on any subject pertinent to the appointment and to propose terms for

                                  21   attorney’s fees and nontaxable costs.” Fed. R. Civ. P. 23(g)(1)(B), (C). “A lawyer’s unethical

                                  22   conduct, both before and during the litigation in question, is relevant to determining whether

                                  23   counsel is adequate under Rule 23.” White v. Experian Info. Sols., 993 F. Supp. 2d 1154, 1170

                                  24   (C.D. Cal. 2014), as amended (May 1, 2014), aff’d sub nom. Radcliffe v. Hernandez, 818 F.3d 537

                                  25   (9th Cir. 2016) (citing Creative Montessori Learning Centers v. Ashford Gear LLC, 662 F.3d 913,

                                  26   918 (7th Cir.2011)).

                                  27          B.      Negotiation of Attorneys’ Fees and Fee Waivers

                                  28          In Evans v. Jeff D., 475 U.S. 717 (1986) (“Jeff D.”), the United States Supreme Court held
                                                                                         4
                                         Case 4:17-cv-06621-YGR Document 134 Filed 07/19/19 Page 5 of 10




                                   1   the right to attorneys’ fees under federal civil rights statutes vests in the prevailing party, not their

                                   2   attorney, such that attorneys lack standing to pursue statutory fees independently. A party may

                                   3   waive the right to statutory fees as a condition of settlement. Id. at 737-38. Following Jeff D., the

                                   4   Ninth Circuit has held that counsel has no standing to seek attorneys’ fees if his client waived

                                   5   them in settlement, and a client’s assignment to their attorney of the right to seek statutory fees is

                                   6   unenforceable under California law. Pony v. Cty. of Los Angeles, 433 F.3d 1138, 1144 (9th Cir.

                                   7   2006) (“plaintiff’s right to seek statutory attorney’s fees is not transferrable in California, and the

                                   8   retainer agreement’s provisions to the contrary are void as a matter of law”). Applying Jeff D., the

                                   9   Ninth Circuit concluded that “[a] prevailing party may waive her statutory eligibility for attorney’s

                                  10   fees as a condition of settlement.” Id. at 1142. A lump-sum settlement cannot be said to deprive

                                  11   counsel of any right or entitlement, given the uncertainty as to whether greater attorneys’ fees

                                  12   could have been recovered, or whether the case would have settled at all, had the fees been
Northern District of California
 United States District Court




                                  13   negotiated separately. Id.

                                  14           Further, the United States Supreme Court has found that the right to seek a statutory

                                  15   attorney fee award does not abrogate contractual contingent fee arrangements. Venegas v.

                                  16   Mitchell, 495 U.S. 82, 90 (1990). “What a plaintiff may be bound to pay and what an attorney is

                                  17   free to collect under a fee agreement are not necessarily measured by the ‘reasonable attorney’s

                                  18   fee’ that a defendant must pay pursuant to a court order[; the statute]. . . . does not interfere with

                                  19   the enforceability of a contingent-fee contract.” Id. In Venegas, the statutory fee award was less

                                  20   than the 40% contingent-fee arrangement to which the plaintiff had agreed, and the court held that

                                  21   plaintiff was obligated to pay the difference to her attorney. Id. On the other hand, a “contingent-

                                  22   fee contract does not impose an automatic ceiling on an award of attorney’s fees.” Blanchard v.

                                  23   Bergeron, 489 U.S. 87, 93 (1989). Thus, if the statutory award exceeds the contingent fee amount,

                                  24   the remainder logically would belong to the client, absent an agreement to the contrary.

                                  25           By contrast, the California Supreme Court has held that an award of statutory attorneys’

                                  26   fees pursuant to section 12965 of the FEHA is the property of the attorney. Flannery v. Prentice,

                                  27   26 Cal.4th 572 (2001). Any proceeds of an attorney fee award under FEHA exceeding fees the

                                  28   client has already paid, absent a contractual agreement validly disposing of them, belong to the
                                                                                           5
                                         Case 4:17-cv-06621-YGR Document 134 Filed 07/19/19 Page 6 of 10




                                   1   attorneys whose work was the basis for the fees awarded. Id. at 577. In Flannery, after a jury trial

                                   2   and verdict in favor of plaintiff, the trial court awarded attorneys’ fees under FEHA, Cal. Gov’t

                                   3   Code 12965(b). As noted in Flannery, plaintiff conceded she had authorized counsel to seek an

                                   4   order that defendants pay her attorneys’ fees at the conclusion of the underlying litigation. Id. at

                                   5   581. Subsequently, however, Flannery sought a judicial declaration that she was entitled to the

                                   6   entire statutory fee award, contending she had entered into an oral agreement with her attorneys to

                                   7   pay them 40% of the net settlement or net jury award, and therefore any greater amount awarded

                                   8   belonged to her. Id. at 576. The court in Flannery concluded that “attorney fees awarded pursuant

                                   9   to section 12965 (exceeding fees already paid) belong, absent an enforceable agreement to the

                                  10   contrary, to the attorneys who labored to earn them.” Id. at 590.

                                  11          However, the Flannery court expressly did not reach the question of whether a plaintiff’s

                                  12   right to waive statutory fees under FEHA “in order to effect settlement” differed from a plaintiff’s
Northern District of California
 United States District Court




                                  13   right to waive statutory fees in settlement of federal civil rights claims:

                                  14          Obviously, it is not necessary that we deprive attorneys of FEHA fees in cases
                                              where they have in fact been sought and awarded in order to vindicate the
                                  15          principle that a civil rights plaintiff may, in order to effect settlement, agree to
                                              waive the right to seek fees.
                                  16

                                  17   Flannery, 26 Cal.4th at 587 (emphasis supplied). While the Flannery court did not address the

                                  18   precise issue of whether the client has a right to agree to a settlement which waives an award of

                                  19   statutory attorneys’ fees in favor of a lump sum payment under California law, it is quite logical to

                                  20   conclude that these kinds of settlements are common.

                                  21          C.      Rules of Professional Conduct

                                  22          In cases considering conflicts of interest in attorney representation, the Ninth Circuit refers

                                  23   to the local rules of the district to determine what standards govern an ethical violation. White,

                                  24   993 F.Supp.2d at 1160 (citing Rodriguez v. W. Publ’g Corp., 563 F.3d 948, 967 (9th Cir. 2009)

                                  25   (“By virtue of the district court’s local rules, California law controls whether an ethical violation

                                  26   occurred.”); Image Technical Serv., Inc. v. Eastman Kodak Co., 136 F.3d 1354, 1357 (9th

                                  27   Cir.1998) (citing N.D. Cal. Local Rule 110–3) (“[S]tandards of professional conduct in the

                                  28   Northern District are those of California Rules of Professional Conduct.”)).
                                                                                          6
                                         Case 4:17-cv-06621-YGR Document 134 Filed 07/19/19 Page 7 of 10




                                   1           In the wake of Jeff D., the California State Bar has issued Formal Ethics Opinions

                                   2   concluding that:

                                   3           (1) a lawyer is ethically obligated to inform a client that the client possesses, and can

                                   4   waive, the right to seek an award of statutory attorney’s fees as a condition of settlement even

                                   5   though it may result in the lawyer not receiving remuneration for services performed (California

                                   6   State Bar Formal Opn. No. 1989-114); and

                                   7           (2) a lawyer is ethically obligated to consummate a settlement in accordance with the

                                   8   client’s wishes and cannot veto a settlement simply because it includes a fee waiver (California

                                   9   State Bar Formal Opn. No. 2009-176).

                                  10           Only a client may decide whether to make or accept an offer of settlement. Nehad v.

                                  11   Mukasey, 535 F.3d 962, 970–71 (9th Cir. 2008) (citing Estate of Falco, 188 Cal.App.3d 1004,

                                  12   1018 (1987) (“A client’s right to reject settlement is absolute.”)). It is generally held that the
Northern District of California
 United States District Court




                                  13   lawyer may not burden the client’s ability to make settlement decisions by structuring the

                                  14   representation agreement so as to allow the lawyer to withdraw, or to ratchet up the cost of

                                  15   representation, if the client refuses an offer of settlement. Id.3

                                  16   III.    DISCUSSION

                                  17           On its face, the retainer agreement’s provisions create a conflict of interest between

                                  18   counsel and plaintiffs, as well as the putative class, which would preclude a finding that counsel is

                                  19   adequate under Rule 23. First, the retainer agreement states that any statutory attorneys’ fees are

                                  20   the property of counsel. Characterizing a statutory fee amount as property of the attorney,

                                  21   regardless of whether they are awarded under state or federal law, is contrary to Jeff D., 475 U.S.

                                  22   at 730-32. The operative complaint herein alleges both federal and state law claims, and Jeff D. is

                                  23   clear that a statutory fee award under federal civil rights statutes belongs to the prevailing parties,

                                  24   not their attorney.

                                  25
                                               3
                                  26              Further, “California courts have often held that when the ethical violation in question is a
                                       conflict of interest between the attorney and the client (or between the attorney and a former
                                  27   client), the appropriate fee for the attorney is zero. . . . [a]t least . . . when the violation is one that
                                       pervades the whole relationship.” U.S. ex rel. Virani v. Jerry M. Lewis Truck Parts & Equip., Inc.,
                                  28   89 F.3d 574, 579 (9th Cir. 1996) (citing cases) (abrogation on other grounds recognized by United
                                       States v. Kim, 806 F.3d 1161, 1174 (9th Cir. 2015)).
                                                                                           7
                                         Case 4:17-cv-06621-YGR Document 134 Filed 07/19/19 Page 8 of 10




                                   1          Next, the retainer agreement’s assignment of rights to any statutory attorneys’ fee award

                                   2   appears unlawful under Jeff D. and ineffective per Pony. The retainer agreement is vague as to the

                                   3   exact nature of the rights assigned when it states: “any attorneys’ fees that may be recovered from

                                   4   defendants in this case shall belong to Attorneys, to whom Client assigns her rights.” (Friedman

                                   5   Decl. ¶ 6.) A “plaintiff’s right to seek statutory attorney’s fees is not transferrable in California,

                                   6   and [a] retainer agreement’s provisions to the contrary are void as a matter of law.” Pony, 433

                                   7   F.3d at 1144. Attorneys may contract for an assignment of their clients’ right to collect, as

                                   8   opposed to the right to seek statutory fees. Rutter, CAL. PRAC. GUIDE PROF. RESP. Ch. 5-B ¶

                                   9   5:342. However, the agreement must advise the client of the adverse interest and obtain a clear

                                  10   written consent to waive the conflict. See Cal. Rules Prof. Conduct 1.8.1, 1.7(b) (former Rules 3-

                                  11   300 and 3-310). “Informed consent” means a person’s agreement to a proposed course of conduct

                                  12   after the lawyer has communicated and explained (i) the relevant circumstances and (ii) the
Northern District of California
 United States District Court




                                  13   material risks, including any actual and reasonably foreseeable adverse consequences of the

                                  14   proposed course of conduct.” Cal. Rules Prof Conduct 1.0.1.

                                  15          Third, and more critically, the retainer agreement’s penalty for exercising the right to settle

                                  16   for a lump sum that waives a statutory fee award—paying twice the attorney’s lodestar regardless

                                  17   of whether it leaves the client with no recovery—does not appear on its face to be lawful under

                                  18   either Jeff D. or Flannery. The United States Supreme Court’s decision in Jeff. D. clearly affirms

                                  19   a client’s right to waive an award of statutory fees in furtherance of a settlement. While Jeff D.

                                  20   held out the possibility that a court might reject a fee-waiver settlement when the waiver was part

                                  21   of a “vindictive” policy or practice to frustrate the objectives of protective legislation, it found no

                                  22   merit to the argument there. Jeff D., 475 U.S. at 739-40. The California Supreme Court in

                                  23   Flannery suggested that a waiver of statutory fees in furtherance of a settlement was permissible,

                                  24   even though an actual fee award was the vested property of the attorney. Flannery, 26 Cal.4th at

                                  25   587. Flannery did not hold that a settlement of claims in which statutory fees could have been

                                  26   obtained entitled the attorney to be paid all such fees from the settlement proceeds. Denying a

                                  27   client’s ability to enter into a settlement for a lump sum unless the client agrees to pay the

                                  28   attorneys at twice their normal billing rate effectively gives attorneys the ability to veto any
                                                                                          8
                                         Case 4:17-cv-06621-YGR Document 134 Filed 07/19/19 Page 9 of 10




                                   1   settlement in which they deem the fee allocation unsatisfactory. Neither Jeff D. nor Flannery

                                   2   support such a position, nor does plaintiffs’ attorney cite any authority that does. Cf. Nehad, 535

                                   3   F.3d at 970–71 (“the lawyer may not burden the client’s ability to make settlement decisions by

                                   4   structuring the representation agreement so as to. . . ratchet up the cost of representation, if the

                                   5   client refuses an offer of settlement.”).

                                   6          Moreover, the notion that the attorney may reject a settlement offer because the attorney

                                   7   fees are insufficient is contrary to California ethics rules. See California State Bar Formal Opn.

                                   8   No. 2009-176 (prohibiting an attorney from vetoing a settlement that includes a statutory fee

                                   9   waiver). The California Court of Appeal has recognized an “inherent conflict of interest” where a

                                  10   plaintiff’s attorney insists on negotiating the amount of damages payable to the plaintiff separately

                                  11   from the award of attorneys’ fees. Ramirez v. Sturdevant, 21 Cal.App.4th 904, 923, 925-26

                                  12   (1994). The conflict arises from the attorney’s duty of loyalty because it permits an attorney to
Northern District of California
 United States District Court




                                  13   take an approach to settlement negotiations that maximizes the attorneys’ fees at the expense of

                                  14   the client’s recovery. Id. at 916-17. The court in Ramirez held that such a conflict did not

                                  15   necessarily invalidate a settlement agreement, but that a court must carefully review whether the

                                  16   agreement was fair and reasonable and not tainted by the conflict. Id. at 925. “As with other

                                  17   situations involving a conflict of interest, in the absence of any evidence to the contrary it will be

                                  18   presumed that the conflict prejudiced the client.” Id.

                                  19          Here, the apparent conflict extends farther than in Ramirez. The retainer agreement

                                  20   requires that plaintiffs allow settlement of attorneys’ fees to be negotiated separately from their

                                  21   damages, or else they forfeit the ability to pay fees on a contingency basis, instead owing their

                                  22   attorney double his full hourly rate.4 In the absence of evidence confirming the clients knowingly

                                  23   consented to such a penalty, the Court presumes the clients here would be prejudiced by the

                                  24   conflict. Ramirez, 21 Cal.App.4th at 925. Moreover, the Court has considerable doubt that such a

                                  25   provision would be deemed “fair and reasonable” even if consent was given. Cf. Cal. Rules Prof.

                                  26
                                              4
                                  27             The conflict here crystallized in counsel’s settlement communications, wherein counsel
                                       stated plaintiff Gamble was willing to settle her claim for damages for $190,000, but that any
                                  28   settlement would require defendant to pay counsel’s fees at the “compromise” rate of 1.5 times his
                                       lodestar (or $240,000) as well. (Dkt. No. 111-1 at 2.)
                                                                                          9
                                        Case 4:17-cv-06621-YGR Document 134 Filed 07/19/19 Page 10 of 10




                                   1   Conduct 1.8.1 (terms of transactions between client and attorney must be “fair and reasonable”).

                                   2   Regardless, the apparent conflict raises serious concerns as to Counsel’s adequacy.5

                                   3          The Court therefore ORDERS that all proceedings herein, including any pending discovery,

                                   4   are STAYED. In light of plaintiffs’ counsel’s representation that he does not want to continue if the

                                   5   retainer agreement would create a conflict, plaintiffs shall file a statement with the Court no later

                                   6   than August 23, 2019, regarding their plan to proceed with this action. In addition, plaintiffs’

                                   7   counsel shall provide a copy of this Order to the plaintiffs and certify compliance.

                                   8          The Court SETS a compliance hearing for 9:01 a.m. on Thursday, August 29, 2019, in

                                   9   Courtroom 1, United States District Courthouse, 1301 Clay Street, Oakland. If plaintiffs have

                                  10   filed their statement timely, the compliance hearing will be vacated and no appearance will be

                                  11   required.

                                  12          IT IS SO ORDERED.
Northern District of California
 United States District Court




                                  13   Dated: July 19, 2019
                                                                                                 YVONNE GONZALEZ ROGERS
                                  14                                                        UNITED STATES DISTRICT COURT JUDGE
                                  15

                                  16

                                  17

                                  18

                                  19

                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26
                                              5
                                  27            In addition, as expressed previously, the Court is also concerned that counsel is not
                                       adequate due to: (1) a history of requesting extensions based upon the stated insufficiency of his
                                  28   resources and overscheduling; and (2) lack of compliance with the local rules. (See, e.g., Dkt.
                                       Nos. 26, 49, 83, 109.)
                                                                                        10
